
174 P.3d 1115 (2007)
217 Or. App. 402
STATE of Oregon, Plaintiff-Respondent,
v.
George J. STAVRAKIS, Defendant-Appellant.
040646783; A126951.
Court of Appeals of Oregon.
Submitted on Record and Briefs July 31, 2007.
Decided December 26, 2007.
Peter A. Ozanne, Executive Director, Peter Gartlan, Chief Defender, Legal Services Division, and Stephanie Hortsch, Deputy Public Defender, Office of Public Defense Services, filed the opening brief for appellant. On the reply brief were Peter Gartlan, Chief Defender, Legal Services Division, and Stephanie Hortsch, Deputy Public Defender.
Hardy Myers, Attorney General, Mary H. Williams, Solicitor General, and Laura S. Anderson, Senior Assistant Attorney General, filed the brief for respondent.
Before HASELTON, Presiding Judge, and ARMSTRONG, Judge, and DEITS, Judge pro tempore.
PER CURIAM.
Affirmed. State v. Rodriguez, 217 Or.App. 24, ___ P.3d ___ (2007).
